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  Exhibit D
  NJ Department of Homeland Security and Preparedness
  Terrorist Threat Assessment 2020
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            2020
              Terrorism Threat Assessment
              NEW JERSEY OFFICE OF HOMELAND SECURITY AND PREPAREDNESS




                                  UNCLASSIFIED
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        About Us


The New Jersey Office of Homeland Security and Preparedness (NJOHSP) is tasked with coordinating
counterterrorism, resiliency, and cybersecurity efforts across all levels of government, law enforcement, nonprofit
organizations, and the private sector. Created by Executive Order in 2006 when the Office of Counterterrorism
(OCT) merged with staff from the Domestic Security Preparedness Task Force (DSPTF), NJOHSP bolsters New
Jersey’s resources for counterterrorism, critical infrastructure protection, preparedness, training, and federal and
State grant management.

Shortly after the tragic events of September 11, 2001, New Jersey’s legislature and Governor passed and signed
the Domestic Security Preparedness Act, which created the DSPTF within the Office of the Attorney General.
In 2002, the Governor created the OCT by Executive Order, which remained under the Attorney General. OCT
provided New Jersey with a single agency to lead and coordinate New Jersey’s counterterrorism efforts with state,
local, and federal authorities and with the private sector.


Mission
NJOHSP leads and coordinates New Jersey’s counterterrorism, cybersecurity, and preparedness efforts while
building resiliency throughout the State.


Core Values
SERVICE. We put our State and its citizens first, and we put Mission before self. We take pride in being timely,
accurate, and relevant.


TEAMWORK. We stand with and behind each other. We recognize that partnerships, both internal and
external, are critical to achieving success. We cannot fulfill our Mission alone.


EXCELLENCE. We take great pride in the quality of our work. We do every task, every project, every
initiative, to the best of our ability.


DIVERSITY. We strive to build a workforce that is as diverse as New Jersey’s citizenry. We pride ourselves on
encouraging diversity of thought, perspective, and problem solving.


INTEGRITY. We are committed to holding ourselves accountable to the highest moral and ethical standards in
our personal and professional conduct. We can be relied upon to act with honor and truthfulness.
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       Foreword


                          Communities across the United States and around the globe have suffered
                          unimaginable tragedies over the past year at the hands of individuals driven by hate.
                          An attack targeting the Hispanic population during back-to-school season at an El
                          Paso store left 22 dead. A woman was killed when a gunman opened fire during a
                          Passover service at a synagogue in Poway, California. More than 50 people were
                          killed when they were shot while worshiping at two mosques in New Zealand.

                           New Jersey has also faced incidents supportive of extremist ideologies. In December,
                           two individuals fatally shot Detective Joseph Seals, a dedicated 15-year veteran of
                           the Jersey City Police Department, and three civilians in a Jersey City attack rooted
                           in anti-Semitism and anti-law enforcement sentiment. A Camden County man was
                           arrested in November on accusations he directed acts of vandalism against two
synagogues in Midwestern states for the purpose of intimidating minorities. A Sussex County man accused
of being obsessed with Nazis and mass shootings was charged in June with weapons offenses and bias
intimidation. Recruiting efforts by various groups have been prevalent, as reported flyering incidents more than
doubled since 2018.

Homeland security and law enforcement professionals at all levels have taken notice of the rise in activity from
white supremacist extremists. New Jersey is committed to protecting the diversity of culture and faith that
shapes our great State. For that reason, NJOHSP increased the threat posed by white supremacist extremists
from moderate to high in 2020, joining homegrown violent extremists as the most persistent hostile actors in
New Jersey.

The fight against terrorism at home and abroad is represented by individuals such as Detective Seals, whose
heroic sacrifice in Jersey City saved countless lives, and US Army Sergeant First Class Michael Goble, a Bergen
County native assigned to 7th Special Forces Group, who died as a result of injuries sustained from combat
operations on his third tour in Afghanistan. They will forever be remembered for embodying the character of
our great nation. We are indebted to all who made the ultimate sacrifice, as well as those who continue to serve
and protect the United States. NJOHSP follows their example by remaining unremitting in our mission to ensure
the safety and security of all people and institutions throughout New Jersey, combatting any threat posed by
those wishing to disrupt our way of life.

We will do everything we can to keep you and your families safe. However, we rely on the public’s assistance.
I ask all residents and visitors to “See Something, Say Something” by reporting terrorism-related suspicious
activity to 1-866-4-SAFE-NJ and tips@njohsp.gov.


Sincerely,




Jared M. Maples
Director, NJOHSP
February 2020
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    New Jersey’s Assessed
    Threat Level in 2020
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        2020 Assessed Threat Level


                                                               Homegrown Violent Extremists
    High
                                                                White Supremacist Extremists
                                                                       Anarchist Extremists
                                                                 Anti-Government Extremists
Moderate                                                          Black Separatist Extremists
                                                                         Militia Extremists
                                                                 Sovereign Citizen Extremists
                                                                          Al-Qa’ida (core)
            o                                                 Al-Qa’ida in the Arabian Peninsula
            o                                                Al-Qa’ida in the Indian Subcontinent
                                                             Al-Qa’ida in the Islamic Maghreb
                                                                             Al-Shabaab
                                                                   Animal Rights Extremists
                                                                   Anti-Abortion Extremists
    Low
                                                                             Boko Haram
                                                                   Environmental Extremists
                                                                               HAMAS
                                                                               Hizballah
                                                                            Hurras al-Din
                                                                                   ISIS
                                                                        Lashkar-e-Tayyiba
                                                                   Tehrik-e-Taliban Pakistan
                                                            Changes from 2019
White Supremacist Extremists: The threat from white supremacist extremists increased from moderate to high in 2020 due to the number of threats, plots,
and attacks conducted in 2019, including the El Paso attack where Patrick Crusius killed 22 people and injured 24.
Black Separatist Extremists: This threat category moved from low to moderate after two individuals associated with this ideology targeted law enforcement
and the Jewish community in Jersey City (Hudson County), killing four and injuring three.
ISIS: The threat from ISIS decreased from moderate to low in 2019. ISIS continues to focus on establishing its worldwide presence, but the group has not
conducted an attack in the United States. ISIS’s inspiration of supporters in the United States makes homegrown violent extremists a consistently high threat.
Anti-Government Extremists: This threat category was added after examining the actions of individuals who do not necessarily question the legitimacy of
government but express their opposition to specific policies, entities, officials, and political parties through threats or acts of violence.
Hurras al-Din: Recognized as al-Qa’ida’s official presence in Syria, this group was added after the US State Department declared it a foreign terrorist
organization in September. Open source reporting suggests the group plotted against US interests.




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        2019 New Jersey
       Terrorism Timeline
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     2019 New Jersey Terrorism Timeline

                       May 22 Homegrown Violent Extremist: Authorities charged Jonathan Xie of
                       Basking Ridge (Somerset County) with attempting to provide material support to
                       HAMAS after he sent money to someone he believed was a member of the group.
                       Additionally, authorities observed Xie outside Trump Tower in New York City shortly
                       before he posted on social media that he wanted to attack that location or the Israeli
                       Consulate General.



June 25 White Supremacist Extremist: Michael Zaremski of Green Township
(Sussex County) was indicted on weapons charges and bias intimidation. Zaremski’s
ex-girlfriend claimed he was fascinated with Hitler, had an interest in committing
a mass shooting in a hospital, and sent her Jewish employer anti-Semitic material.
Investigators discovered white supremacist content on his phone and computer.



                       July 9 Hizballah: Alexei Saab of Morristown (Morris County) was indicted on
                       multiple terrorism charges. Saab, a naturalized American citizen from Lebanon,
                       allegedly acted as a scout for the Islamic Jihad Organization, the foreign operations
                       wing of Hizballah. While living in the United States, Saab conducted detailed pre-
                       operational surveillance for potential future target locations, including the Empire
                       State Building and the Statue of Liberty.



October 25 White Supremacist Extremist: Fred Arena of Salem (Salem County)
was indicted for making false statements to government agents. He was a member
of Vanguard America, a white supremacist extremist group, and lied about his
involvement on his application for a security clearance. Arena espoused violent
rhetoric online and expressed a willingness to fight anti-fascists and law enforcement.



                       November 13 White Supremacist Extremist: Richard Tobin of Brooklawn (Camden
                       County) admitted instructing two members of a loosely organized neo-Nazi network,
                       The Base, to vandalize synagogues in Wisconsin and Michigan. Tobin also expressed
                       an interest in attacking black people with a machete in a New Jersey mall.




December 10 Black Separatist Extremists: David Anderson and Francine Graham
fatally shot three and injured one at a kosher grocery store in Jersey City (Hudson
County) shortly after killing a police detective at a nearby cemetery. The pair engaged
in an hours-long shootout with responding officers, injuring two, before being killed.
Both Anderson and Graham expressed anti-Semitic and anti-law enforcement views
prior to committing the attack.
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      High Threats in 2020
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        HVE Support for Foreign Terrorists Remains High


In 2020, homegrown violent extremists (HVEs) will continue to pose a high threat to New Jersey as
foreign terrorist organizations encourage supporters to kill Americans, provide material support, and
travel overseas to fight. Last year, authorities arrested seven HVEs plotting to conduct attacks. In December,
Mohammed Alshamrani, an officer in the Saudi Air Force participating in a military training program, killed
three sailors and wounded eight others at a Naval Air Station in Pensacola, Florida. He used a firearm legally
purchased in the United States and claimed inspiration from foreign terrorist organizations.

In 2019, HVEs adopted a variety of attack methods to
target law enforcement officers, government offices,                      Understanding the HVE Threat
religious facilities, and large gatherings. Ismail Hamed,
                                                                    HVE support in the United States for foreign
of Fountain Hills, Arizona, attempted to stab a sheriff’s
                                                                    terrorist organizations will remain a constant,
sergeant at a department substation in January 2019. In
                                                                    highlighted by an increase in arrests in 2019
March, Rondell Henry from Germantown, Maryland,
                                                                    compared to the previous year.
plotted to conduct a vehicle attack with a stolen rental
van at the National Harbor in Maryland. Prior to his                HVEs are individuals inspired—as opposed to
arrest, Henry drove to Dulles International Airport in              directed—by foreign terrorist organizations and
Virginia to surveil the area but determined the crowd               radicalized in the countries in which they are born,
was too small. Court documents stated Henry drew                    raised, or reside. These organizations continue to
inspiration from ISIS and sought to conduct an attack               call for attacks in the West, despite the groups’
similar to when an extremist killed 84 people by driving            inability to execute large-scale attacks in recent
a truck into a crowd in Nice, France, in 2016.                      years.

Rather than conduct an attack in furtherance of a group’s                     Identified HVEs by Year*
violent ideology, several supporters provided material
support by attempting to recruit new members and                    100
offer financial assistance. In February 2019, authorities                   84
arrested Michael Sewell from Arlington, Texas, for                   80
providing material support to Lashkar-e-Tayyiba. Sewell
encouraged a co-conspirator through social media to                  60
travel to Pakistan and join the group by contacting a                                  43                             41
facilitator, who was an undercover agent. In September,              40                          37
Sewell received 20 years in federal prison.                                                                21
                                                                     20
An NJOHSP review revealed an increase in extremists
arrested for attempting to travel overseas from one in           0
2018 to nine in 2019. HVEs attempt to travel overseas to              2015         2016         2017         2018       2019
acquire weapons training and kill American forces and             *Due to the sensitivity of ongoing HVE investigations, this
regional opponents. While many supporters attempted                data only reflects publicly available information and may
to join ISIS despite losing its caliphate in Iraq and Syria,                          be subject to change.
several extremists tried to join other groups. In July,
Delowar Hossain from Bronx, New York, was arrested at John F. Kennedy International Airport in New York
City before he could travel to Pakistan to join the Taliban. He first discussed his travel plans with an informant
in September 2018, when he acknowledged he wanted to kill Americans and non-believers.




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     HVEs: 2019 Regional Arrests



                          Sinmyah Ceasar Brooklyn, New York: In March, authorities arrested Sinmyah
                          Ceasar for obstructing justice after she broke her agreement to cooperate with
                          the government following a conviction for participating in the online recruitment
                          of ISIS fighters. Authorities released Ceasar on bail in April 2018; however, she
                          secretly contacted ISIS supporters online, posted defiant messages, and deleted
                          postings that would have revealed her criminal activity. Ceasar received an
                          additional 18 months in prison.



Ashiqul Alam Queens, New York: In June, authorities arrested Ashiqul Alam
after he purchased two firearms without serial numbers from an undercover agent.
Beginning in August 2018, Alam expressed a desire to purchase weapons, grenades,
and explosives to conduct an attack. In January 2019, he visited Times Square in
New York City several times to surveil potential targets while recording the area.
Alam is accused of referencing al-Qa’ida and ISIS and admiring Usama bin Ladin.




                           Ruslan Asainov Brooklyn, New York: In July, Kurdish-led Syrian Democratic
                           Forces transferred Ruslan Asainov to authorities in New York after they captured
                           him on the battlefield fighting for ISIS. In December 2013, Asainov traveled to
                           Istanbul, Turkey, before entering Syria to become an ISIS sniper and weapons
                           trainer. Over time, he became an emir in charge of firearms training for ISIS
                           fighters and attempted to recruit other Americans to travel to Syria.



Awais Chudhary Queens, New York: In August, authorities arrested Awais
Chudhary at a shopping center in Queens, New York, after he attempted to receive
a tactical knife from an undercover agent to conduct an attack in the name of
ISIS. Investigators discovered his intentions in a chatroom, where he is accused of
revealing his willingness to use other methods of attack, including the construction
of an improvised explosive device (IED).




                          Zachary Clark Brooklyn, New York: In November, authorities arrested
                          Zachary Clark for attempting to provide material support to ISIS. He is accused
                          of disseminating propaganda through encrypted chatrooms, including instruction
                          manuals on how to construct IEDs, select targets, and conduct attacks in New York
                          City. Clark pledged allegiance to ISIS leadership beginning in July, first to Abu
                          Bakr al-Baghdadi and then his successor, Abu Ibrahim al-Hashemi al-Qurayshi.

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        White Supremacist Extremists Shifting to High Threat


White supremacist extremists will pose a high threat to New Jersey in 2020 as supporters of this ideology
demonstrate their willingness and capability to carry out attacks, direct and inspire sympathizers
online, and attempt to network globally. In 2019, white supremacist extremists carried out four attacks and
participated in at least 19 additional plots, threats of violence, and instances of weapons stockpiling.

On August 3, Patrick Crusius shot and killed 22 people and injured 24 others at a retail store in El Paso. Police
arrested Crusius shortly after the shooting and charged him with capital murder. Prior to the shooting, he posted
a manifesto online with white supremacist extremist and anti-immigrant viewpoints.

In November, federal and State authorities arrested Richard Tobin of Brooklawn (Camden County) after he
admitted instructing two members of a loosely organized neo-Nazi network, The Base, to vandalize synagogues
in Wisconsin and Michigan. The Base is a collective designed to unify fascists and develop a network to train
members for an upcoming race war. Tobin also expressed an interest in attacking black people with a machete at
a New Jersey mall.

Over the summer, Feuerkrieg Division, an international neo-Nazi group that advocates for a race war and calls
for violence against their perceived enemies, focused on identifying and recruiting members from New Jersey
and New York. The group was established overseas in late 2018 and is attempting to reach American audiences.
On August 9, federal authorities arrested Conor Climo in Las Vegas on weapons charges. He was arraigned on
allegations that he had bomb-making materials in his home and plotted to attack Jewish people and members of
the LGBTQ community. Climo closely associated himself with Feuerkrieg Division.


          Recruitment in New Jersey


  White supremacist organizations in New Jersey have
  actively attempted to spread their ideologies and recruit
  new members throughout the State.
  Since January 2019, there have been 168 reported instances
  of white supremacist propaganda distribution, compared
  to 46 in 2018. They have been mostly in the form of flyers
  placed in public venues and higher education institutions
  throughout New Jersey.

  Notably, the majority of flyering incidents can be attributed
  to one New Jersey-based white supremacist group, which
  attempted to expand its membership nationally in 2019.
  The group’s flyers were found in cities and on college
  campuses across the country.




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         White Supremacist Extremists Embrace Accelerationism


Over the last few years, white supremacist extremists cited a violent form of accelerationism as
motivation for violent acts after attackers and supporters endorsed the theory online. Some white
supremacist extremists argue that participating in mass attacks or creating other forms of chaos will accelerate
the imminent and necessary collapse of society in order to build a racially pure nation.

On March 15, Brenton Tarrant attacked two mosques in New
                                                                                Accelerationism is a longstanding theory
Zealand, resulting in 51 deaths and 49 injuries. Prior to the
                                                                                that Western governments are corrupt
attack, Tarrant posted a manifesto online articulating the concept
                                                                                and their demise should be accelerated
of accelerationism, with a section titled, “Destabilization and
                                                                                through political tensions to create
Accelerationism: Tactics for Victory.” Tarrant’s manifesto
                                                                                radical social change. White supremacist
encompassed the core traits of accelerationism, with the goal of
                                                                                extremists embrace a violent form of
creating societal chaos. Tarrant allegedly believed murdering
                                                                                accelerationism as a way of establishing
worshipers at the mosques would help bring this extreme theory
                                                                                a whites-only ethnostate.
into the mainstream.

Patrick Crusius, who conducted the attack in El Paso, uploaded a manifesto online that expressed rhetoric
aligning with the theory, showed admiration for Tarrant, and espoused anti-immigrant and anti-Hispanic
messages. Individuals in the online accelerationist community celebrated the attack, calling for additional
violence and discussing whether “high-value targets” or members of the general population should be targeted.

Some white supremacist extremists and organizations often refer to several books and scholarly articles about
accelerationism, and some organizations have required reading lists in order to gain membership. Additionally,
many of these texts are often referenced in online chatrooms and podcasts.



                                              Livestreaming as a Tactic
                                              Livestreamed videos of attacks over the last year led to the spread of
                                              propaganda across online platforms, inspired like-minded individuals, and
                                              provided a tool for future attackers to assess successes and failures to aid
                                              their own operations. In addition to his manifesto, Tarrant livestreamed the
                                              attack, which spread rapidly to other online platforms. Other extremists
                                              found this tactic useful to reach a wider audience to broadcast their actions.

                                              In October, Stephan Balliet attempted to carry out an attack on a synagogue
                                              in Germany. He livestreamed a 35-minute video of the assault. The video
                                              was shared on white supremacist extremist online forums.

                                              In response to the livestreaming of attacks, social media companies
                                              have amended policies to address online hate speech to stop the spread
   Brenton Tarrant livestreamed his attacks   of violent content, but it is still possible for these videos to be released
       on two New Zealand mosques.            elsewhere in the online community before being discovered.




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       Domestic Terrorism
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        Domestic Terrorism Overview

In 2019, domestic extremists conducted nine attacks and
were responsible for an additional 35 plots, threats of                             Incidents by Year*
violence, and instances of weapons stockpiling, according to                                              50
an NJOHSP nationwide review. Race-based extremists were
                                                                      50                                            46         44
                                                                                               43
responsible for 57 percent of all domestic terrorist incidents,       40             37
highlighting a new threat focus for law enforcement.                  30


                                                                      20


                                                                      10
 Domestic terrorism is violence committed by individuals
                                                                        0
 or groups associated primarily with US-based movements,                           2015 2016 2017 2018 2019
 including anti-government, race-based, religious, and single-       *Due to the sensitivity of criminal investigations, this data only reflects
 issue extremist ideologies.                                                publicly available information and may be subject to change.




        Domestic Extremist Attacks in 2019

                                                           White Supremacist Extremist: John Earnest
                                                           sets fire to the Dar-ul-Arqam mosque in
              March 24                                     Escondido, California, and sprays graffiti in the
                                                           parking lot praising the New Zealand shooter.
                                                           Several people in the mosque were uninjured.




      White Supremacist Extremist: John Earnest
   shoots and kills one and injures three others at the                                            April 27
      Chabad of Poway Synagogue near San Diego.



                                                          White Supremacist Extremists: Authorities arrest
                                                          Julian Calfy, John Carollo, and Nicholas Holloway,
                 June 20                                  three white nationalists who planned to protest the
                                                          Knox PrideFest in Tennessee, after they assaulted a
                                                          man they lured through an LGBTQ dating app.


     Anarchist Extremists: A group of unidentified
   anarchists punches, kicks, and throws objects at a
  conservative journalist during protests in Portland,                                             June 29
                                              Oregon.




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          Domestic Extremist Attacks in 2019



                                                             Anarchist Extremist: Willem Van Spronsen
                                                             points a loaded rifle at responding police officers
                   July 13                                   after setting fire to a vehicle at an Immigration
                                                             and Customs Enforcement facility in Tacoma,
                                                             Washington. Officers open fire, killing Spronsen.



     White Supremacist Extremist: Patrick Crusius,
       targeting members of the Hispanic community,
   shoots and kills 22 people and injures 24 others at a                                        August 3
                                 retail store in El Paso.




                                                             Sovereign Citizen Extremists: Tonia Scott and
                                                             six associates hold a security officer hostage while
          November 18                                        trying to take control of property belonging to a
                                                             private community in Bushkill, Pennsylvania.



   Black Separatist Extremists: David Anderson and
Francine Graham shoot and kill a Jersey City (Hudson
    County) police detective before attacking a kosher
grocery store, killing three and injuring one. Police kill
                                                                         HATE                  December 10
            both in a shootout that injures two officers.


                                                             Undetermined*: Grafton Thomas enters a rabbi’s
                                                             home in Monsey, New York, and stabs five people,

                                HATE
                                                             critically injuring two. Thomas attempts to continue
           December 28                                       the attack at a synagogue next to the home, but
                                                             parishioners inside lock the doors and prevent him
                                                             from entering.
                                                             *The appropriate threat category has not yet been determined,
                                                             as the attack is still under investigation. The federal complaint
                                                             charging Thomas with hate crimes noted writings in his journal
                                                             with anti-Semitic messages and possible references to Black
                                                             Hebrew Israelites; however, he has no other known link to the black
                                                             separatist ideology.




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        Anarchist Extremists Support Violent Tactics


In 2020, anarchist extremists will continue to attack government institutions, use violent counter-protest
tactics against adversarial groups, and target political figures representing disparate political views.
Despite the use of new tactics, anarchist extremists have not conducted an attack garnering favorable attention
among the overall movement.

In July, a self-proclaimed anarchist extremist and anti-fascist (Antifa),
Willem Van Spronsen, attempted to firebomb the US Immigration and
Customs Enforcement detention facility in Tacoma, Washington, while
armed with a rifle. He was killed in a confrontation with police. Van
Spronsen tossed lit objects at vehicles and buildings, causing one car fire,
and unsuccessfully tried to ignite a propane tank in order to disable a
fleet of buses used to transport immigrants to the Yakima Air Terminal in       Firebombed vehicle near the Northwest
Washington for deportation.                                                     Detention Center in Tacoma, Washington

On June 29, anarchist extremists and Proud Boys members clashed at a rally in Portland, Oregon, forcing law
enforcement to declare a civil disturbance and use riot control methods to disperse the crowds. Additionally,
anarchist extremists assaulted a journalist videotaping the event, resulting in a head injury. In May, the same
journalist claimed he was pepper-sprayed by an Antifa member while recording a fight in Portland.

        Sovereign Citizen Extremists Violently Oppose Authority

Sovereign citizen extremists are likely to use threats and violence as they attempt to operate outside a
legal system they view as illegitimate. Sovereign citizens believe they are not required to follow US laws,
with extremists justifying the use of violence to prevent officials from enforcing them. While there were several
instances of sovereign citizen extremists threatening or using violence in 2019, none occurred in New Jersey.

In November, Tonia Scott and six associates forced entry into the clubhouse of a private community in Bushkill,
Pennsylvania, and held a security guard at gunpoint. Scott previously filed an unsuccessful lawsuit claiming she
was the owner of the property and later filed court documents insisting officials had no authority over her. She
recruited her associates by showing them fraudulent documents supporting her claim and offering them homes
and jobs if they helped her take control of the community and evict its residents.

In October, a jury convicted Christopher Bruce of Sioux Falls, South Dakota, for stalking the city’s mayor.
Bruce, who claimed he was a “state national,” sent a series of threatening emails to the mayor and city council
members over eight months, some of which included references to the mayor’s immediate family. He later
admitted writing in one of the messages, “I say, you can fight City Hall, you just need a bigger gun, better
bullets, and harder armor.”

During a traffic stop in Maplewood, Minnesota, in February 2019, Dennis Vann told police officers that he
did not need a driver’s license and was not required to follow traffic laws because he was a “free citizen.” He
threatened to kill the officers if they tried to remove him from his vehicle and then reached for an improvised
explosive device (IED), leading to a four-hour standoff. After Vann surrendered, officers recovered the IED and
found an anti-police message written on it.



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        Black Separatist Extremists Present Moderate Threat


Fringe black separatist extremists are conducting violence while mainstream members continue to
promote violent and hate-based rhetoric against law enforcement, government officials, white people, and
members of the Jewish community. Lone offenders, drawing inspiration from the black separatist extremist
ideology, often act without warning. Within New Jersey, the New Black Panther Party (NBPP) and the Israelite
Church of God in Jesus Christ (ICGJC) are the most active black extremist groups.

On December 10, David Anderson and Francine Graham killed three
people and injured three when they targeted a kosher grocery store in Jersey
City (Hudson County) shortly after killing a police detective at a nearby
cemetery. The shooters espoused anti-Semitic and anti-law enforcement
views prior to the attack, according to authorities. A review of Anderson’s
social media activity highlighted direct threats toward these groups and
support for the Black Hebrew Israelite ideology. This ideology asserts that
black people are the true descendants of the Israelites and that the white and
Jewish communities are the enemy, as well as law enforcement.                       Multi-agency response to the
                                                                                       Jersey City shooting
In May 2017, Derick Brown killed his roommate, injured his neighbor,
and critically wounded a first responder. Brown formerly led the Dallas chapter of the NBPP and had links to
other black extremist groups. In October 2014, Zale Thompson attacked four New York Police Department
officers with a hatchet, seriously injuring two. Thompson was heavily influenced by a mix of foreign terrorist
propaganda. Additionally, he attended NBPP meetings and was allegedly angered by perceived police brutality.
Law enforcement officials stated Thompson sought “inspiration from foreign terrorist sources like ISIS, but
there is also evidence he was focused on black separatist ideology.”

Groups operating in New Jersey are unlikely to plot or conduct attacks despite espousing hate-based rhetoric
due to disorganization and lack of consistent leadership. The New Jersey NBPP last organized a rally in 2011,
when it protested a National Socialist Movement gathering outside the State House in Trenton (Mercer County).
New Jersey NBPP members are known to attach themselves to other chapters during highly publicized racially
divisive incidents, including protests in Ferguson, Missouri; Sanford, Florida; and Baltimore. The ICGJC is not
known for violence, but some members participate in criminal activity, particularly financial crimes they believe
are ordained by God to help members survive in a world dominated by white people.



                               Reactions to Jersey City Attack
 In the aftermath of the Jersey City attack on December 10, a neo-Nazi group on social media platforms
 expressed favorable views of the shooters and their methods and paid homage to previous attacks. Online
 group members celebrated the attack and called for a continuation of violence against Jewish Americans
 and law enforcement officers. The group praised Anderson and Graham as “non-white heroes,” along with
 previous minority attackers. These responses came during and after the incident, highlighting how race-based
 attacks are likely to inspire like-minded individuals to commit further acts of violence.




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          Domestic Terrorism Forecast for 2020


Domestic extremists are adopting foreign terrorist organization strategies in order to improve
propaganda distribution, form global networks, and inspire lone offenders. The majority of domestic
extremist attacks in the United States are committed by individuals not directed by larger groups, similar to how
homegrown violent extremists (HVEs) are inspired by foreign terrorist organizations to commit attacks.

•    In August, an alleged member of two neo-Nazi groups accused of plotting to bomb a synagogue revealed
     supporters are exploiting online propaganda created by ISIS and al-Qa’ida. The European neo-Nazi group,
     Feuerkrieg Division, used an image of an ISIS video to promote homemade explosives with the caption,
     “It’s easier than you think.” In 2019, its American counterpart, Atomwaffen Division (AWD), posted online
     that “the culture of martyrdom and insurgency within groups like the Taliban and ISIS is something to
     admire and reproduce in the neo-Nazi terror movement.”

•    Domestic extremists are forming global networks similar to those of jihadists. In June 2018, a self-
     proclaimed white nationalist created a network, The Base, which shares the English-language name for al-
     Qa’ida, to promote propaganda, encourage violence against minorities, and attract new AWD members. The
     Base uses a vetting process that limits its membership to men of European descent who are of a certain age
     and attend an in-person meeting. This resembles how al-Qa’ida screens prospective recruits by introducing
     them to an imam or family member. In addition to recruitment, similarities exist between domestic extremist
     groups and foreign terrorist organizations in the use of violence, organizational structure, and promotion of
     violence.

•    Domestic extremists continue to inspire lone offenders by praising past shooters and spreading propaganda,
     similar to how Salafi-jihadists encourage HVEs to execute attacks. While domestic extremists glorify
     Anders Breivik, Dylann Roof, and Brenton Tarrant in online forums for advancing far-right ideologies,
     al-Qa’ida has memorialized martyred leaders such as Usama bin Ladin and Anwar al-Aulaqi to encourage
     future acts of violence.

       Director Jared M. Maples Oral Testimony Before the United
     States House of Representatives Committee on Financial Services,
                             January 15, 2020
    We assess that organized domestic extremists will continue to fund activities through criminal enterprises,
    such as selling counterfeit goods, drug and weapons trafficking, cigarette smuggling, and various fundraising
    methods. Lone offenders will likely be self-directed and self-funded in order to carry out their goals.
    Additionally, we cannot discount the future use of cryptocurrencies as a means to fund acts of domestic
    extremism within New Jersey and across the United States. Foreign Terrorist Organization (FTOs) have used
    platforms such as Facebook and Telegram to solicit funding through bitcoin.
    Over the past year, we have seen domestic terror groups adopt tactics from FTOs. This is no different. In 2017,
    Andrew Anglin, publisher of neo-Nazi blog The Daily Stormer, received a donation after the Charlottesville
    attack in the amount of 14.88* bitcoins, or approximately $60,000.
    *The numbers 14 and 88 are references to white supremacist ideology




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 International Terrorism




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        Al-Qa’ida Perseveres in 2020


In 2020, al-Qa’ida will continue to represent itself as the de facto leader of the global jihadist network
by encouraging attacks against Western countries, recognizing successes and resiliency of affiliates, and
memorializing members to inspire supporters. Despite publishing three new magazines and releasing several
videos in 2019, al-Qa’ida did not release any media dedicated to new terrorist tactics or threatening specific
targets.

Al-Qa’ida leader Ayman al-Zawahiri reiterated calls
to strike countries that reject the group’s ideology in
a video released in 2019 commemorating the attacks
on September 11, 2001. He reminded supporters of
potential targets, including the US military and French,
Russian, Indian, Chinese, and Israeli interests that
conducted counterterrorism operations against al-
Qa’ida’s affiliates.

While attempting to depict itself as the leader of Salafi-                        Al-Qa’ida’s flag
jihadist groups and bolster the resolve of supporters,
al-Qa’ida suggested in July that its affiliates represent a global terrorist community regardless of geographic
boundaries. When advocating this cohesion, Zawahiri recognized supporters’ efforts to conduct attacks and
called for them to increase their lines of communication in order to share terrorist tactics and techniques.

In the inaugural issue of its One Ummah Arabic-language magazine in April, al-Qa’ida acknowledged Usama
bin Ladin, Anwar al-Aulaqi, the Charlie Hebdo attackers in Paris in 2015, and other leaders and supporters
killed in counterterrorism operations. Without any recent attacks in the West, the group remains relevant by
praising affiliate operations and celebrating their leaders to motivate supporters.



                        Hurras al-Din (Al-Qa’ida in Syria or AQ-S)
                                                  Designated a foreign terrorist organization in September and
                                                  recognized as al-Qa’ida’s official presence in Syria, Hurras
                                                  al-Din has both the intent and capability to attack the West,
                                                  including against Americans and American interests.

                                                  In September, the US State Department offered a reward of
                                                  up to $5 million for information leading to the identification
                                                  of senior leadership.

                                                  In June and August, the Pentagon confirmed military strikes
                                                  were conducted against al-Qa’ida leadership in northwest
                                                  Syria, which remains a safe haven for the group to plot
           Two Hurras al-Din fighters in Syria    external attacks throughout the region and in the West.




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        ISIS Operations Persist Despite Leader’s Death


Over the next year, ISIS will likely remain resilient and focus on insurgent operations while attempting to
inspire Western attacks through affiliates’ activity and guidance. In 2019, ISIS faced a major loss after US
Special Operations Forces killed its leader, Abu Bakr al-Baghdadi, in a raid in the northwest Syrian village of
Barisha, located in the Idlib province.

According to open source reporting, approximately 10,000 ISIS
fighters are imprisoned in Syrian Democratic Forces (SDF) prison
camps, 2,000 of which are foreign fighters. Reports indicate that
100 ISIS fighters and recruiters have already escaped detention.
ISIS also demonstrated its ability to conduct operations across
Africa after claiming responsibility for attacks throughout 2019
in Libya, Tunisia, the Sinai region, Nigeria, Niger, Mali, Burkina
Faso, Cameroon, Democratic Republic of the Congo, and
Mozambique. Additionally, ISIS established affiliates in Central
Africa, Turkey, and India, with each releasing videos in 2019, and
released its first video of fighters in Azerbaijan.

Following Baghdadi’s death, multiple ISIS affiliates pledged
allegiance to its new leader, Abu Ibrahim al-Hashemi al-Qurayshi,
highlighting dedication to the group despite the death of its prolific
leader. The majority of official ISIS propaganda contains claims of
global operations and attacks as opposed to previous videos and
magazines discussing life in the caliphate.                                     Deceased ISIS leader Baghdadi featured
                                                                                    in an April propaganda video
In October, ISIS warned supporters of “spies who profess to be
soldiers of [ISIS]” in the group’s official newsletter, al-Naba. ISIS
cautioned that the purpose of the spies is to “identify and locate [supporters] and set up traps for his arrest or
death.” ISIS published guidelines in al-Naba in June for supporters to refrain from online communications with
unknown users, conduct attacks using readily available weapons, and abstain from asking for financial and
material support online in order to avoid detection from law enforcement.



                                            Outlook for 2020
  On October 31, ISIS official media group al-Furqan Foundation announced Qurayshi as the new leader
  of ISIS. While the death of Baghdadi is significant, the group will likely operate similarly under Qurayshi.
  Prior to Baghdadi’s death, ISIS affiliates conducted attacks and operations across the world, participating in
  and contributing to various regional instability. If ISIS can capitalize on instability in the regions where it
  operates, it may be able to recoup its forces, revitalize its media operations, and recreate its stance as a global
  terrorist network. Between the death of Baghdadi and the group’s global operational presence, fighters could
  be reinvigorated to conduct operations eliciting the support of US-based homegrown violent extremists.




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                Understanding
                Mass Violence
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       Targeted Mass Violence


Regardless of motivation, a diverse group of individuals are leveraging forms of targeted mass violence
against public spaces, schools, houses of worship, workplaces, and other venues, according to an NJOHSP
review of attacks in 2019. While their motivations are not all terrorism-related, several components exist that
could potentially help identify those prone to carrying out violent acts.

On August 4, Connor Betts killed nine people and wounded 17 others
                                                                                Targeted mass violence refers
outside of a bar in Dayton, Ohio, before responding officers returned fire
                                                                                to acts of intentional violence in
and killed him. Following the incident, police found evidence that Betts
                                                                                public spaces and semi-public
showed an interest in violence and mass shootings, expressing a desire to
                                                                                places during which significant
commit one. However, there was no indication for his motivation. In 2012,
                                                                                harm is caused to three or more
Betts made a list of students he wanted to kill and rape and referenced
                                                                                people. Violence related to
attacking his high school.
                                                                                criminal acts and spontaneous
On July 28, Santino Legan entered a community festival in Gilroy,               violence are generally excluded.
California, and randomly fired at attendees, killing three and wounding at
least a dozen others before turning the gun on himself. Legan cut a hole
in a wire fence in order to avoid an established security checkpoint and wore a bulletproof vest. Prior to the
shooting, Legan complained about the festival online and referenced a manifesto that promotes racial violence
and anti-Semitism.

On May 31, DeWayne Craddock shot and killed 12 people and injured four others at a public works building
where he worked in Virginia Beach, Virginia, before responding officers shot and killed him. Craddock resigned
from his position earlier that day, but his employee credentials were still valid, allowing him access to secure
areas of the building during the attack and slowing the response of police officers. In September, the Virginia
Beach Police Department released a report that found Craddock had some performance issues at work but could
not otherwise pinpoint his motive for the attack. An independent report released in November came to the same
conclusion.




                                     Potential Warning Signs
 Perpetrators of targeted mass violence often elicit concern in others prior to their attack, according to several
 Western academic institutions and federal government entities.

 • Family members, peers, and close contacts may be the first to notice radical shifts in behavior and attitude,
   as well as unusual interest in violence.

 • In most targeted mass violence attacks, those close to the attacker were aware of at least one stressor the
   offender experienced prior to the incident, including financial, family, mental health, and employment.




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        Extremists Target Houses of Worship


Individuals carrying out violent attacks on houses of worship aim to injure and kill as many victims as
possible. The targets of these attacks are congregants and religious leaders but may also include law
enforcement personnel responding to the incident and bystanders.

On October 9, Stephan Balliet, a 27-year-old German citizen, attempted to carry out an attack on a synagogue
in Halle, Germany, on the Jewish holiday of Yom Kippur. Balliet livestreamed a 35-minute video of the assault
online, which was later shared to Telegram by other online users. Balliet found inspiration for the attack in his
anti-Semitic and far-right extremist ideology.

Successful Protective Measures: Despite the attacker attempting to breach multiple doors, he failed to gain
access to the premises. While monitoring the surveillance system, security alerted congregants that they
should evacuate to an apartment above the prayer hall. Subsequently, congregants locked and barricaded the
synagogue’s doors. Despite conducting pre-operational surveillance of the synagogue, it appears the attacker
was unaware of the service’s time or whether he could access the congregation during his planned attack.

In 2019, extremists motivated by a variety of ideologies targeted houses of worship. These attacks serve as
a reminder that houses of worship continue to be threatened.

On December 29, a shooter opened fire at a church in White Settlement, Texas, resulting in the deaths of two
parishioners. The church’s volunteer security team quickly returned fire, killing the shooter within seconds. The
security team has existed for at least a decade and has engaged in consistent training.

On December 28, Grafton Thomas entered the home of a rabbi in Monsey, New York, and stabbed five people
with a machete during a Hanukkah celebration, critically wounding two. Following the attack, the suspect
attempted to enter a synagogue next door but was prevented from gaining entry due to locked doors, similar to
the Halle incident. Thomas fled the scene, but authorities captured him hours later in New York City.

On March 15, Australian white supremacist extremist Brenton Tarrant killed 51 people and injured 49 in an
attack on two New Zealand mosques during Friday prayers. Tarrant used semi-automatic firearms and a shotgun
covered with white supremacist symbols and phrases during the livestreamed attack.

Congregations are encouraged to foster relationships with local law enforcement, create a security
committee, develop and attend security-related trainings, and establish security and emergency plans.
Increasing physical security is vital to protecting these facilities and their congregants. These measures
include the use of access controls, alarm systems, interior CCTV systems, locks and keys, and exterior
lighting.


                                   The NJROIC partners with federal, state, and local entities to collect
                                   crime-, threat-, and disaster-related information; conduct analysis; develop
                                   intelligence products; and provide timely and relevant alerts, warnings, and
                                   notifications to law enforcement, public safety, and private-sector entities to
                                   strengthen preparedness, prevention, enforcement, investigative, response,
                                   and resiliency efforts.




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  Cybersecurity Threats
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        Cybersecurity Threats


Cybersecurity Threat Moderate; Ransomware Continues Reign, IT
Providers Targeted, Nation-State Threat in the Spotlight
The New Jersey Cybersecurity and Communications Integration Cell (NJCCIC)
assesses that cyber threat actors pose a moderate threat to New Jersey. In 2019,
the NJCCIC received reports of over 50 ransomware incidents across New Jersey.
The frequency and impacts of ransomware attacks in New Jersey mirrors that of
other states. Ransomware attack methods continue to evolve and have become more
sophisticated with ransom demands increasing significantly. Several costly attacks
in 2019 resulted in ransomware payments in excess of $1 million, with the average
payment in the hundreds of thousands of dollars. In addition to the ransom payments,
remediation costs associated with efforts to recover and rebuild systems and data,
as well as harden defenses to prevent a reoccurrence, often drives the total cost of
ransomware attacks into the millions.

Educational establishments, government agencies, and healthcare providers have been frequent targets over
the past year, with an estimated 948 incidents in these sectors. In a two-month time frame, eight hospitals and
healthcare systems were infected across the United States. In December, New Jersey’s largest hospital system
was the victim of a ransomware attack.

Ransomware-as-a-Service (RaaS) subscriptions, similar to Software-as-a-Service (SaaS) subscriptions, allow
nontechnical threat actors to carry out debilitating attacks with ease. The relatively low effort required to infect
vulnerable organizations and the vast sums of profit generated virtually assures that ransomware attacks will
continue to be used by cyber criminals, nation-state actors, and terrorist organizations in 2020.

IT Supply Chain Security

In 2019, information technology (IT) service providers were targeted by nation-state actors, cyber crime
organizations, and others. These threat actors exploited the trust relationships between IT service providers,
including managed service providers (MSPs) and cloud service providers, and their clients to gain access to
client networks and data to conduct cyber espionage and intellectual property theft, as well as launch disruptive
malware attacks, including ransomware attacks.

Threat actors often gain access to an MSP’s network via insufficient identity, access, and authentication
controls or by exploiting public-facing vulnerabilities and IT misconfigurations. Once access to an MSP
is obtained, threat actors can launch attacks against the MSP’s clients via trusted network connections and
other dependencies. In 2019, threat actors increasingly targeted MSPs to infect their clients’ networks with
ransomware. Late in 2019, an MSP based in New Jersey was infected with ransomware that spread to its clients’
networks, many of which were small businesses, and significantly impacted operations leading into the holiday
season.

The ability to gain access to multiple organizations’ networks via their MSPs allows threat actors to more
efficiently use their resources while maximizing their operational effectiveness. As more and more organizations
depend on cloud-based services and MSPs for their IT operations, threat actors will increasingly target these
upstream links in the supply chain.


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         Cybersecurity Threats


Nation-State Threat

Recent escalating tensions in the Middle East, other foreign policy and international trade issues, and the 2020
US Presidential election make the United States an attractive target for nation-states, terrorist organizations,
strategic competitors, and their supporters. They can use their cyber capabilities to carry out attacks against
critical infrastructure assets and other key resources as retribution for perceived grievances; to conduct cyber
influence campaigns to sow social divisions and undermine trust in democracy; and to conduct cyber espionage
operations for economic, political, and military advantage. The NJCCIC assesses with high confidence that
these and other threat groups will increasingly use cyber capabilities in the form of cyber attacks, cyber
espionage, and influence campaigns to advance their own interests. Nation-state adversaries such as China,
Russia, Iran, and North Korea, as well as terrorist and criminal groups aligned with or protected by those
countries and others, have developed sophisticated offensive cyber capabilities and resources and represent a
growing threat to vulnerable US critical infrastructure assets.



                                                                                   NJCCIC
                                    VICTIM OF A                     T   he New Jersey Cybersecurity & Communications Integration Cell
                                                                       is the state’s one-stop shop for cybersecurity information sharing, threat

                                 CYBER ATTACK?
                                                                      intelligence, and incident reporting. The NJCCIC works to make New
                                                                      Jersey more resilient to cyber attacks by promoting awareness of cyber
                                                                      threats and encouraging the widespread adoption of best practices.



                                                                      NJCCIC SERVICES
                                                                      As citizens, businesses, schools, and government agencies continue to
                                                                      expand their online footprints, they are more exposed to cyberattacks.
                                                                      The NJCCIC provides a wide array of cybersecurity services, including the
                                                                      development and distribution of cyber threat intelligence products,
                                                                      alerts, and advisories, as well as cyber tips and best practices for
                                                                      effectively managing cyber risk. Other NJCCIC services include:
                                                                          THREAT BRIEFINGS               AWARENESS PRESENTATIONS                  TRAINING
                                                                          RISK ASSESSMENTS               INCIDENT RESPONSE SUPPORT                CYBER ALERTS


                                                                     INCIDENT REPORTING
                                                                      The NJCCIC partners with the New Jersey State Police Cyber Crimes Unit,
                                                                      the Federal Bureau of Investigation, and the US Department of Homeland



                                 FILE A
                                                                      Security to assist victims in responding to and recovering from
                                                                      cybersecurity incidents, and to prevent future attacks. We encourage all
                                                                      New Jersey citizens and organizations to report the following incidents:



                                 REPORT
                                                                          DATA BREACHES                  WEBSITE DEFACEMENTS                     MALWARE


             NJCCIC                                                       DENIAL OF SERVICE
                                                                          ONLINE EXTORTION
                                                                                                         UNAUTHORIZED ACCESS
                                                                                                         CREDENTIAL COMPROMISE
                                                                                                                                                 PHISHING
                                                                                                                                                 RANSOMWARE
             New Jersey
             Cybersecurity and   To file a cyber incident report,     NJCCIC MEMBERSHIP
             Communications      visit: cyber.nj.gov/report
             Integration Cell                                         Individuals and organizations wishing to receive alerts, advisories,
                                 To file a data breach report,        bulletins, and more can register to become an NJCCIC member at no
                                 visit: cyber.nj.gov/breach           cost. Sign up at www.cyber.nj.gov/membership/.


                                 Business hours: M-F, 8am - 5pm     WHEN IN DOUBT, REPORT!
                                 Phone: 1-833-4-NJCCIC                                                                               Business hours: M-F, 8am - 5pm
                                                                    To file a cyber incident report, To file a data breach report,   Phone: 1-833-4-NJCCIC
      www.cyber.nj.gov           24/7 hotline: 1-866-4-SAFE-NJ      visit: cyber.nj.gov/report       visit: cyber.nj.gov/breach      24/7 hotline: 1-866-4-SAFE-NJ




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               SEE Something,
               SAY Something
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        How to Report Suspicious Activity


Suspicious Activity Reporting
NJOHSP encourages law enforcement, first responders,
and private- and public-sector partners to report suspicious
activity. The “See Something, Say Something” campaign
benefits families, friends, and neighbors by bringing suspicious
behavior to the attention of law enforcement. Reporting
suspicious behavior could potentially stop the next terrorist
incident. Even if you think your observation is not important,
it may be a piece of a larger puzzle.


Public Engagement
Suspicious activity reports (SARs) have led to investigations
that thwarted several terrorist plots in the tri-state area. Read
the Suspicious Activity Reporting Success Stories to learn how
these reports helped detect and deter possible attacks at
www.njohsp.gov/njsars-success-stories.


Information Sharing
SARs are shared with law enforcement partners throughout the
State. The New Jersey Suspicious Activity Reporting System is
also linked to the FBI’s national system known as eGuardian,
which partners with the Nationwide SAR Initiative to form a
single repository accessible to thousands of law enforcement
personnel and analysts nationwide.


Report Suspicious Activity
     1-866-4-SAFE-NJ (866-472-3365)               tips@njohsp.gov   njohsp.gov/njsars




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    Recognize and Report Signs of Terrorism-Related Suspicious Activity



           Expressed or Implied Threat:                               Misrepresentation:
           Threatening to commit a crime that could                   Presenting false information or misusing
           harm or kill people or damage a facility,                  documents to conceal possible illegal
           infrastructure, or secured site                            activity


           Surveillance:                                              Cyber Attack:
           A prolonged interest in or taking pictures/
                                                                      Disrupting or compromising an
           videos of personnel, facilities, security
                                                                      organization’s information technology
           features, or infrastructure in an unusual
                                                                      systems
           or covert manner


           Theft/Loss/Diversion:                                      Recruiting:
           Stealing or diverting items—such as                        Attempting to recruit or radicalize
           equipment, uniforms, or badges—that                        others by providing tradecraft advice or
           belong to a facility or secured site                       distributing propaganda materials


                                                                      Financing:
           Testing Security:                                          Providing direct financial support to
           Probing or testing a facility’s security                   operations teams and contacts, often
           or IT systems to assess the strength or                    through suspicious banking/financial
           weakness of the target                                     transactions


           Aviation Activity:                                         Sabotage/Tampering/
           Operating or interfering with the                          Vandalism:
           operation of an aircraft that poses a threat               Damaging or destroying part of a
           of harm to people and property                             facility, infrastructure, or secured site


           Breach/Attempted Intrusion/                                Material Acquisition/Stor-
           Trespassing:                                               age:
           Unauthorized people trying to enter                        Acquisition and/or storage of unusu-
           a restricted area or impersonating                         al quantities of materials, such as cell
           authorized personnel                                       phones, radio controllers, or toxic mate-
                                                                      rials
                                                                      Weapon Collection/Storage:
           Acquiring Expertise:                                       Collection or discovery of unusual
           Gaining skills or knowledge on a specific
                                                                      amounts of weapons, including
           topic, such as facility security, military
                                                                      explosives, chemicals, or other
           tactics, or flying an aircraft
                                                                      destructive materials



?          Eliciting Information:
           Questioning personnel beyond mere
           curiosity about an event, facility, or
           operations


“Terrorism-related suspicious activity is any observed behavior reasonably indicative of pre-operational
    planning related to terrorism or terrorism-related crime.” US Department of Homeland Security
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   Terrorism Definitions
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        Terrorism Definitions


Al-Qa’ida (AQ) - Al-Qa’ida is an Islamist extremist organization founded in 1988 by Usama bin Ladin and
other Arab foreign fighters who fought against the Soviet Union in Afghanistan in the 1980s. It provides
religious authority and strategic guidance to its followers and affiliated groups.

Al-Qa’ida in the Arabian Peninsula (AQAP) - AQAP is an Islamist extremist organization based in Yemen.
It is al-Qa’ida’s most active global affiliate.

Al-Qa’ida in the Indian Subcontinent (AQIS) - AQIS is an Islamist extremist group that aims to fight the
governments of Pakistan, India, Burma, and Bangladesh to establish an Islamic state.

Al-Qa’ida in the Islamic Maghreb (AQIM) - AQIM was formed in 2007 and is al-Qa’ida’s North African
affiliate that aims to overthrow regional governments to institute an Islamic state. In March 2017, AQIM merged
with several other regional groups to form Jama’at Nasr al-Islam Wal Muslim.

Al-Qa’ida Network - The al-Qa’ida Network is a decentralized organization that relies on social ties and local
relationships to share resources among the affiliates.

Al-Shabaab - Al-Shabaab is an Islamist extremist organization founded in 2006 that seeks to establish an
austere version of Islam in Somalia and also operates in Kenya, Ethiopia, Tanzania, and Uganda.

Anarchist Extremists - Anarchist extremists advocate violence in furtherance of movements such as anti-
racism, anti-capitalism, anti-globalism, anti-fascism, and environmental extremism.

Animal Rights Extremists - Animal rights extremists believe all animals—human and non-human—have equal
rights of life and liberty and are willing to inflict economic damage on individuals or groups to advance this
ideology.

Anti-Abortion Extremists - Anti-abortion extremists are individuals or groups who believe abortion is
unethical and that violence is justified against people and establishments providing abortion services.

Anti-Government Extremists - Anti-government extremists believe the US political system is illegitimate and
force is justified to bring about change. Additionally, this includes individuals who do not necessarily question
the legitimacy of government but express their opposition to specific policies, entities, officials, and political
parties through threats or acts of violence. This can include militia extremists and sovereign citizen extremists.

Black Separatist Extremists - Black separatist extremists are individuals or groups that seek to establish an
independent nation for people of African descent through violence and other criminal activity.

Boko Haram - Boko Haram is an Islamist extremist organization based in northeastern Nigeria, which also
conducts operations in Chad, Cameroon, and Niger.

Domestic Terrorism - Domestic terrorism is violence committed by individuals or groups associated primarily
with US-based movements, including anti-government, race-based, religious, and single-issue extremist
ideologies.

Environmental Extremists - Environmental extremists view manmade threats to the environment as so severe
that violence and property damage are justified to prevent further destruction.




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        Terrorism Definitions


HAMAS - HAMAS, an acronym for Harakat al-Muqawama al-Islamiyya, or the “Islamic Resistance
Movement,” founded in 1987, is an offshoot of the Palestinian Muslim Brotherhood that aims to end the Israeli
occupation of Palestinian territory and establish a Palestinian state.

Hizballah - Hizballah is an Islamist militant group based in Lebanon and allied with Iran.

Homegrown Violent Extremists (HVEs) - HVEs are individuals inspired—as opposed to directed—by foreign
terrorist organizations and radicalized in the countries in which they are born, raised, or reside.

Hurras al-Din - Hurras al-Din is an Islamist extremist organization based in Syria. It is officially recognized as
the Syrian affiliate of al-Qa’ida.

ISIS - ISIS, also referred to as the Islamic State of Iraq and Syria, the Islamic State of Iraq and the Levant, the
Islamic State, or Daesh, is a Salafi-jihadist militant group that split from al-Qa’ida in 2014 and established its
self-proclaimed “caliphate,” claiming authority over all Muslims.

Lashkar-e-Tayyiba (LeT) - LeT is an Islamist extremist organization focused on attacking and expelling
Indians from Kashmir, a northern state in India that borders Pakistan and is home to a Muslim-majority
population.

Militia Extremists - Militia extremists view the federal government as a threat to the rights and freedoms of
Americans. They judge armed resistance to be necessary to preserve these rights.

Race-Based Extremists - Race-based extremists seek to establish the superiority of one racial or ethnic group
over others through violence or other criminal activity. This includes white supremacist and black separatist
extremists.

Salafi-jihadism - Salafi-jihadism is an extreme interpretation of Islam in which individuals draw inspiration
from multiple foreign terrorist organizations.

Single-Issue Extremists - Single-issue extremists participate in violence stemming from domestic, political, or
economic issues. This includes animal rights, environmental, and anti-abortion extremists.

Sovereign Citizen Extremists - Sovereign citizen extremists throughout the United States view federal, state,
and local governments as illegitimate, justifying their violence and other criminal activity.

Tehrik-e-Taliban Pakistan (TTP) - TTP is an Islamist extremist organization seeking to overthrow Pakistan’s
government and expel US forces from Afghanistan.

Terrorism - Terrorism is the unlawful use of force and violence against persons or property to intimidate
or coerce a government, the civilian population, or any segment thereof, in furtherance of political or social
objectives.

White Supremacist Extremists - White supremacist extremists believe in the inherent superiority of the white
race. They seek to establish dominance over non-whites through violence and other criminal activity.




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            NJOHSP
        Terrorism-Related
            Products
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     NJOHSP Terrorism-Related Products



Terrorism Snapshots

Overview of Domestic and International Terrorist Groups - www.njohsp.gov/terrorism-snapshotsDo

Domestic Terrorism

Conspiracy Theory Likely Leads to Extremist Violence - https://bit.ly/34OTClo

Domestic Extremists Embrace Foreign Terrorist Ideologies - https://bit.ly/365gUnh

Domestic Terrorism in 2018 - https://bit.ly/2YmiVIZ

Homegrown Violent Extremists (HVEs) in the US, 2018 - https://bit.ly/2PfCPRR

HVEs: Potential Scenarios - https://bit.ly/2Ro4D9i

Lone White Supremacist Extremists Leverage Direct Action - https://bit.ly/2Ylhjj1

Moderate Threat From Recently Released Terrorists - https://bit.ly/2ORocVQ

Online Manifestos Inspire Other Extremists - https://bit.ly/389Dv3V

International Terrorism

Al-Qa’ida Affiliates Merge With Regional Extremists - https://bit.ly/2LoPP6P

Al-Qa’ida Leader Calls for Attacks on 9/11 Anniversary - https://bit.ly/2rUbcGf

Al-Qa’ida: Potential Scenarios - https://bit.ly/34OWP4q

Attack at Synagogue in Halle, Germany - https://bit.ly/38bOOsf

German Politician Assassinated by Far-Right Extremist - https://bit.ly/2PbI7xS

Hizballah Sleeper Agent Convicted in Manhattan Federal Court - https://bit.ly/2PghM1D

Iranian Citizen Charged With Violating US Export Laws - https://bit.ly/2rUpgzw

Iran Uses Social Media to Target the US - https://bit.ly/2qpAc7R

ISIS: Potential Scenarios - https://bit.ly/369R55J

ISIS Strategically Features Leader in New Video - https://bit.ly/2PepZna

ISIS West Africa Posturing For Prolonged Insurgency - https://bit.ly/2rjscFH

Multiple Bombing Attacks in Sri Lanka - https://bit.ly/2YjCuln

New Zealand Mosque Attacks - https://bit.ly/2qmBcJK




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        NJOHSP Terrorism-Related Products


  Paris Attacker Illustrates Insider Threat - https://bit.ly/2rhpMaK

  US Forces Kill ISIS Leader Abu Bakr Al-Baghdadi - https://bit.ly/2LofBrE

  US Sanctions on Iran Hamper Hizballah Operations - https://bit.ly/2Phb4Zm

  Select Podcasts

  After Baghdadi: Implications of the ISIS Leader’s Death on the Terrorism Landscape -
  https://bit.ly/2rXrmP7

  Fueling the Flames: Extremists’ Response to New Zealand Attacks - https://bit.ly/2ORr8BP

  Looking Into the Future: Potential Scenarios for ISIS and Al-Qa’ida - https://bit.ly/2LFECyX

  Shifting Allegiances: Domestic Extremists Embrace Foreign Terrorist Ideologies -
  https://bit.ly/2Lr8TBk

  Terrorist Release Announcements to Counter Extremist Recidivism Act -
  https://bit.ly/2PkAQvC


  For more information on NJOHSP’s intelligence products, contact the Analysis Bureau at analysis@njohsp.gov.




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